Case:10-35933-MER Doc#:27 Filed:12/15/10                  Entered:12/15/10 13:42:04 Page1 of 3




                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO


In re:                              )
GORDON, JAMES WILLIAM               )
SSN: XXX-XX-XXXX                    )   Case No. 10-35933 MER
GORDON, ELIZABETH MARKS             )
SSN: XXX-XX-XXXX                    )   Chapter 7
                                    )
            Debtor(s)               )
______________________________________________________________________________

           TRUSTEE’S MOTION TO EMPLOY REAL ESTATE BROKER
______________________________________________________________________________

        COMES NOW the Chapter 7 Trustee, Cynthia Skeen (“Trustee”), appearing pro se, hereby
moves this Court for an order authorizing the Trustee to employ Kerry Endsley and Fuller Sotheby’s
International Realty, as real estate broker, to sell certain real property of the estate, and as grounds
therefor states as follows:

       1.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §1334. This matter
               is a core proceeding within the meaning of 28 U.S.C. §157 (b)(2). Venue is proper
               in this District pursuant to 28 U.S.C. §1409(a).

       2.      The assets of the estate include real property located at 7737 Centaur Drive,
               Evergreen, CO 80439 (the “Property”).

       3.      The Trustee wishes to employ Kerry Endsley of Fuller Sotheby’s International
               Realty to market and sell the Property. Mr. Endsley will list the Property for
               $695,000. A copy of the Listing Agreement is attached hereto as Exhibit “A”.

       4.      Mr. Endsley understands that a sale of the Property and payment of a real estate
               broker commission may be consummated only after notice and a hearing and Court
               approval.

       5.      Upon information and belief, after liens, commissions, and closing costs, there is
               equity in the Property for the estate.

       6.      Mr. Endsley is fully qualified to perform the services for which he is being
               employed, and his employment is in the best interest of the estate due to his expertise
               in the real estate field.

       7.      The fee to be charged by Mr. Endsley to sell the Property will not exceed a
               commission of 6% of the selling price.
Case:10-35933-MER Doc#:27 Filed:12/15/10                  Entered:12/15/10 13:42:04 Page2 of 3




       8.      The fees to be charged are described in the Affidavit of Kerry Endsley which is
               attached hereto and incorporated herein by this reference as Exhibit “B”.

       9.      To the best of Mr. Endsley’s knowledge, he has no connection with the Debtors, the
               creditors, the U.S. Trustee, or any person employed by the U.S. Trustee, or any other
               party in interest. Mr. Endsley does not represent any interest adverse to the estate.

       10.     Mr. Endsley is a disinterested person qualified to be employed under §327(a) and
               F.R.B.P. 2014(a). See Exhibit “B”.

        WHEREFORE, the Trustee respectfully requests that the Court enter an Order, the form of
which is submitted herewith, authorizing the employment of Kerry Endsley of Fuller Sotheby’s
International Realty, as real estate broker for the estate on the terms and conditions set forth herein,
and for such other and further relief as this Court deems appropriate.

Dated: December 15, 2010                       /s/ Cynthia v.R. Skeen
                                                Cynthia v.R. Skeen, #11690 Trustee
                                               707 Brownell Street
                                               P. O. 218
                                               Georgetown, Colorado 80444
                                               Telephone: 303-569-3134
                                               Facsimile: 303-569-2383
                                               E-mail: cynthia.skeen@7trustee.net


                         CERTIFICATE OF MAILING

       I HEREBY CERTIFY that of this 15th day of December, 2010, a true and correct copy of
the above and foregoing Trustee’s Motion to Employ Real Estate Broker and the proposed
Order, was placed in the United States Mail, postage prepaid and correctly addressed to:

Office of the US Trustee
999 18th Street, Suite 1551
Denver, CO 80202

Kerry Endsley
Fuller Sotheby’s International Realty
32156 Castle Court, Suite 201
Evergreen, CO 80439

James William Gordon II
Elizabeth Marks Gordon
7737 Centaur Drive
Evergreen, CO 80439
Case:10-35933-MER Doc#:27 Filed:12/15/10   Entered:12/15/10 13:42:04 Page3 of 3




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1660 Lincoln St., Suite 1550
Denver, CO 80264




                                  /s/ Cynthia v.R. Skeen
